•,   ,.                                                        Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 1 of 21

          Instant M.,~~dges (194)




     #    From               !To                                    D1rect1on Body                                          Source Application     T1mestamp-Date   ITimestamp-Time


                             I
                             I
                             I
                              f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/2019 10:13:27    1.aud.silk    silk            1.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                                             wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner), wxid_4U,
                              wxid_4zadks4smfc512 uncfa



     2                        f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/201910 :13:31    2.aud.silk    silk           2.aud.silk_Converted.wav
                              Participants: wxid_ qxgsc6h1 xmd112                                                           wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner) , wxid_4U ,
                              wxid_4zadks4smfc512 uncfa



     3                        f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/201910 :15:32    5 .aud.silk   silk           5.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                                             wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner), wxid_4U ,
                              wxid_4zadks4smfc512 uncfa



     4                        f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/2019 10:19:29    6.pic
                              Participants: wxid_qxgsc6h1xmd112                                                             wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa



     5                        f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/2019 10:19:31    7 .pic
                              Participants: wxid_qxgsc6h1xmd112                                                             wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa



     6                        f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/2019 10:19:54    8 .aud.silk   silk           8.aud .silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                                             wxid_qxgsc6h1 xmd112                    AM(UTC+O)
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa



     7                        f030996f4e3ca9d276982dfeb19f279d      Incoming                                                WeChat:                3/15/2019        3/15/201910 :20 :10   9 .aud.silk   silk           9.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd11 2                                                            wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner) , wxid_4U ,
                              wxid_4zadks4smfc512 uncfa



     8                        f030996f 4e3ca9d276982dfeb19f279d     Incoming   AFaU!iA:ll4.1-4.3fiff =Fil 7 •   11!1i   ?   WeChat:                3/15/2019        3/15/201910 :21 :47
                              Participants: wxid_qxgsc6h1xmd1 12                                                            wxid_qxgsc6h1xmd112                     AM(UTC+O)
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa




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                                                       Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 2 of 21


9                      ::3033ef4a~a3d27C982aie ~~9~279d     i, W, r1i1 ~   imi'-1 V\ia"~~ffiffla~~ ~~   ~                                    vvecnat:               .j/101201~   3110/2019 10:22 :28
                       Participants: wxid_qxgsc6h1xmd112                                                                                     wxid_ qxgsc6h1xmd112                AM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



10   wxid_ qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d     Outgoing       iiJJi ~f* e 1t ~                                                  WeChat:                3/15/2019    3/15/2019 1 :15:47
     112 ¥             Participants : wxid_qxgsc6h1xmd112                                                                                    wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



11                     f030996f4e3ca9d276982dfeb19f279d     Incoming       iiJ J;..t                                                         WeChat:                3/15/2019    3/15/20191 :21 :25
                       Participants: wxid_qxgsc6h1xmd112                                                                                     wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



12   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d      Outgoing       iiJ J;Jtl1.                                                       WeChat :               3/15/2019    3/15/20191 :50:15
     112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                                      wxid_qxgsc6h1xmd112                 PM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa



13   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d      Outgoing                                                                         WeChat:                3/15/2019    3/15/2019 2:03:15     20.pic
     112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                                      wxid_qxgsc6h1xmd112                 PM(UTC+O)
                      ¥ (owner), wxid_4U,
                      wxid_ 4zadks4smfc512 uncfa



14                     f030996f4e3ca9d276982dfeb19f279d     Incoming                                                                         WeChat:                3/15/2019    3/15/2019 5:51 :18    21 .aud.silk   silk   21 .aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                                                                     wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



15                     f030996f4e3ca9d276982dfeb19f279d     Incoming                                                                         WeChat:                3/15/2019    3/15/2019 5:51 :26    22.aud.silk    silk   22.aud.silk_ Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                                                                     wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



16                     f030996f4e3ca9d276982dfeb19f279d     Incoming                                                                         WeChat:                3/15/2019    3/15/2019 9:02 :07    23.pic_thum
                       Participants: wxid_qxgsc6h1xmd112                                                                                     wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



17                     f030996f4e3ca9d276982dfeb19f279d     Incoming       ~-N'Hi~ti!f,ilAt±l•~;ll.Ql7 • \lt\ltial !                         WeChat:                3/15/2019    3/15/2019 9:04:15
                       Participants: wxid_qxgsc6h1xmd112                                                                                     wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



18                     f030996f4e3ca9d276982dfeb19f279d     Incoming       ;,t,t,4.1 B{£J!~~1iCJZ-lt~       : j!J/Ell!!Wi~cp,t.~ll!!ll/i/E   WeChat:                3/15/2019    3/15/2019 9:06:12
                       Participants: wxid_qxgsc6h1xmd112                   ,lsllii                                                           wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa
                                                         Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 3 of 21


19   wxid_qxgsc6h"l xrr.d ::30996f~3ca9J270;52dit'b19f279ci   Outgoing   1'iii-i!'$\;;i,.~              WeChat:                3/16/2019   3/16/2019 7:01 :16
     112¥               Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                AM(UTC+O)
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



20   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing                                  WeChat:                3/16/2019   3/16/2019 7:16:05    27.pic
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner), wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



21   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing   llltfil@J Ut \tl\tl            WeChat :               3/16/2019   3/16/2019 7:16:16
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner) , wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



22   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing   \tl\tl tlllltfilfflllllJlB.7   WeChat:                3/16/2019   3/16/2019 7:16:42
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa



23   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing   $~7!Sl!!i~                     WeChat:                3/16/2019   3/16/2019 7:16:47
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa



24   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d      Outgoing   .ffll;l!!.I.                   WeChat:                3/16/2019   3/16/2019 7:16:55
     112¥               Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                AM(UTC+O)
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



25   wxid_qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb19f279d      Outgoing                                  WeChat:                3/16/2019   3/16/2019 7:17:30    32.aud.silk   silk       32.aud.silk_Converted.wav
     112¥              Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                AM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



26   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing                                  WeChat:                3/16/2019   3/16/2019 7:18:00    33.aud.silk   silk       33.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner), wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



27   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d      Outgoing                                  WeChat:                3/16/2019   3/16/2019 7:19:41    34.aud.silk   silk       34.aud.silk_Converted.wav
     112¥               Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                AM(UTC+O)
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



28   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing                                  WeChat:                3/16/2019   3/16/2019 7:19:56    35.aud.silk   silk       35.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1 xmd112               AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa




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                                                             Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 4 of 21

29   w·..cid_qxgsc6~i x11rd r: ~a~or~~ aSJ27o;o2or~b'i£if2 7;c:i   0utgoing   *~~:ltE.tti's:j:i         WeChat:                3/16/2019   3/16/2019 7:20:15
     112¥                   Participants: wxid_qxgsc6h1xmd112                                           wxid_qxgsc6h1xmd112                AM(UTC+O)
                         • (owner) , wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa



30   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d             Outgoing   ::t-Jl.17 \tlilj          WeChat:                3/16/2019   3/16/2019 7:20:21
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      • (owner) , wxid_4U,
                      wxid_ 4zadks4smfc512 uncfa



31   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d             Outgoing   i&lfi.lE *i!i!*fl::t-Jl   WeChat:                3/16/2019   3/16/2019 7:20:33
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      • (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa



32                       !030996!4e3ca9d276982dfeb19f279d          Incoming   i/JIMt@J7-ft;l!l,I,       WeChat :               3/16/2019   3/16/2019 7:22:37
                         Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112                AM(UTC+O)
                         ¥ (owner) , wxid_4U,
                         wxid_4zadks4smfc512 uncfa



33   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d             Outgoing                             WeChat:                3/16/2019   3/16/2019 7:23:03    42.aud.silk   silk          42.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner), wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa


34   wxid_qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d            Outgoing                             WeChat:                3/16/2019   3/16/2019 7 :23:19   43.aud.silk   silk          43.aud.silk_Converted.wav
     112¥              Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                AM(UTC+O)
                       ¥ (owner) , wxid_ 4U,
                       wxid_ 4zadks4smfc512 uncfa



35   wxid_ qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb19f279d          Outgoing                             WeChat:                3/16/2019   3/16/2019 7:23:36    44.aud.silk   silk          44.aud.silk_Converted.wav
     112¥               Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                AM(UTC+O)
                        • (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



36   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d             Outgoing                             WeChat:                3/16/2019   3/16/2019 7:23:46    45.aud.silk   silk          45.aud.silk_ Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa



37   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d             Outgoing   lHHIHfa!-T II             WeChat:                3/16/2019   3/16/2019 7:25:09
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1 xmd112               AM(UTC+O)
                      ¥ (owner) , wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



38   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d             Outgoing                             WeChat:                3/16/2019   3/16/2019 7 :35:39   47.aud.silk   silk          47.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                 wxid_qxgsc6h1xmd112                AM(UTC+O)
                      ¥ (owner) , wxid_ 4U,
                      wxid_ 4zadks4smfc51 2 uncfa




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                                                                         Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 5 of 21


39   WXld_q'AgscGh ~Aiiid :v~.::,tiof"'1C.:,CoW.C::t Q.::,o~\Jfc:0 l~IL.1 ~   Outgoing                         v'VeCnat:             3/16/2019   3/16/2019 7:36:28     48.aud.silk    silk           48.aud.silk_Converted.wav
     112¥                    Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                AM(UTC+O)
                             ¥ (owner), wxid_4U,
                             wxid_4zadks4smfc512 uncfa



40                           f030996f4e3ca9d276982dfeb19f279d                 Incoming   Jjj{fiJ              WeChat:                3/16/2019   3/16/2019 10:06 :55
                             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                AM(UTC+O)
                             ¥ (owner) , wxid_ 4U,
                             wxid_4zadks4smfc512 uncfa



41                           f030996f4e3ca9d276982dfeb19f279d                 Incoming                        WeChat:                3/16/2019   3/16/2019 10:40 :59   SO.pie
                             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                AM(UTC+O)
                             ¥ (owner) , wxid_ 4U,
                             wxid_4zadks4smfc512 uncfa



42   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                        WeChat:                3/16/2019   3/16/2019 3:23:56     51 .pic
     112¥               Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                PM(UTC+O)
                        ¥ (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa



43                            f030996f4e3ca9d276982dfeb19f279d                Incoming                        WeChat:                3/16/2019   3/16/2019 5:50:23     52.aud.silk    silk           52.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                PM(UTC+O)
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa



44                            f030996f4e3ca9d276982dfeb19f279d                Incoming                        WeChat:                3/16/2019   3/16/2019 5:50:39     53.aud.silk    silk           53.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                PM(UTC+O)
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa



45                            f030996f4e3ca9d276982dfeb19f279d                Incoming                        WeChat:                3/16/2019   3/16/2019 5:51 :01    54.aud.silk    silk       54.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1 xmd112               PM(UTC+O)
                              ¥ (owner), wxid_4U,
                              wxid_4zadks4smfc512 uncfa



46                            f030996f 4e3ca9d276982dfeb19f279d               Incoming                        WeChat:                3/16/2019   3/16/2019 7:20:14     55.pic
                              Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1 xmd112               PM(UTC+O)
                              ¥ (owner), wxid_4U,
                              wxid_4zadks4smfc512 uncfa



47                            f030996f4e3ca9d276982dfeb19f279d                Incoming                        WeChat:                3/16/2019   3/16/2019 7:20:35     56.aud.silk    silk       56.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                PM(UTC+O)
                              ¥ (owner), wxid_4U,
                              wxid_4zadks4smfc512 uncfa



48                            f030996f4e3ca9d276982dfeb19f279d                Incoming                        WeChat:                3/16/2019   3/16/2019 7:21 :44    5 7.aud.silk   silk       57.aud.silk_Converted.wav
                              Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112                PM(UTC+O)
                              ¥ (owner), wxid_ 4U,
                              wxid_4zadks4smfc512 uncfa




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49                     fu..)U~~oi4c:.>Cd::KILI OtfOLdfeo lt11f4':t~   1ncom1ng                        WeChat:               3/16/2019   3/16/2019 7:22:21     58.aud.silk    silk      58.aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112               PM(UTC+O)
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



50                     f030996f4e3ca9d276982dfeb19f279d               Incoming                        WeChat:               3/16/2019   3/16/2019 7:22:28     59.aud.silk    silk      59.aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112               PM(UTC+O)
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



51   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                Outgoing                        WeChat:               3/17/2019   3/17/2019 12:37 :06   60.aud.silk    silk      60.aud.silk_Converted.wav
     1124             Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112               PM(UTC+O)
                      4 (owner), wxid_4U,
                      wxid_4zadks4smfc512 uncfa



52   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d              Outgoing                        WeChat:               3/17/2019   3/17/2019 12:37 :11   61 .aud.silk   silk      61 .aud.silk_Converted.wav
     1124               Participants: wxid_qxgsc6h1xmd112                                             wxid_qxgsc6h1xmd112               PM(UTC+O)
                        4 (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa



53   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d              Outgoing                        WeChat:               3/17/2019   3/17/2019 12:37 :22   62.aud.silk    silk      62.aud.silk_ Converted.wav
     1124               Participants: wxid_qxgsc6h1xmd112                                             wxid_qxgsc6h1xmd112               PM(UTC+O)
                        4 (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



54   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d              Outgoing                        WeChat:               3/17/2019   3/17/2019 12:37 :37   63.aud.silk    silk      63.aud.silk_Converted.wav
     1124               Participants: wxid_qxgsc6h1xmd112                                             wxid_qxgsc6h1xmd112               PM(UTC+O)
                        4 (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa



55   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                Outgoing                        WeChat:               3/17/2019   3/17/2019 12:37 :50   64.aud.silk    silk      64.aud.silk_Converted.wav
     1124             Participants: wxid_qxgsc6h1xmd112                                               wxid_qxgsc6h1xmd112               PM(UTC+O)
                      4 (owner), wxid_4U,
                      wxid_4zadks4smfc512 uncfa



56                     f030996f4e3ca9d276982dfeb19f279d               Incoming                        WeChat:               3/17/2019   3/17/2019 1:02:36     65.aud.silk    silk      65.aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112               PM(UTC+O)
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



57                     f030996f4e3ca9d276982dfeb19f279d               Incoming                        WeChat:               3/17/2019   3/17/20191 :03:10     66.aud.silk    silk      66.aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112               PM(UTC+O)
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



58                     f030996f4e3ca9d276982dfeb19f279d               Incoming                        WeChat:               3/17/2019   3n 112019 1 :03:19    67.aud.silk    silk      67.aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112               PM(UTC+O)
                       4 (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa




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                                                              Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 7 of 21


59   wxid_ GAQSc6h 1x 11iU IG3GGGOi~3'...a9d27 6G82dlcU I ;;27SJ   Oui.yui,iy                          ·.;.;~(:nd.l.          ~   I IU. Ul::f   ~ I I I / L U 1::, L .U"i .Ld   68.aud.sii k   siii<.   68.aud. silk_Converted.wav
     112¥                 Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1 xmd112                     PM(UTC+O)
                          • (owner) , wxid_4U,
                          wxid_ 4zadks4smfc512 uncfa



60   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb1Sf279d             Outgoing                            WeChat:                3/17/2019         3/17/2019 2:04:33               69.aud.silk    silk     69.aud.silk_ Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                      PM(UTC+O)
                      ¥ (owner) , wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



61   wxid_ qxgsc6h 1xmd f030996f4e3ca9d276982dfeb19f279d           Outgoing                            WeChat:                3/17/2019         3/17/2019 2:04 43               70.aud.silk    silk     70.aud.silk_Converted.wav
     112¥               Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112                      PM(UTC+O)
                        ¥ (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



62   wxid_qxgsc6h1xmd f030996f4e3ca9d276962dfeb1Sf279d             Outgoing                            WeChat:                3/17/2019         3/17/2019 2:04:56               71 .aud.silk   silk     71 .aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                      PM(UTC+O)
                      • (owner) , wxid_4U,
                      wxid_ 4zadks4smfc512 uncfa



63   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d           Outgoing                            WeChat:                3/17/2019         3/17/2019 2:05 :34              72.aud.silk    silk     72.aud. silk_ Converted.wav
     112¥               Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112                      PM(UTC+O)
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



64   wxid_qxgsc6h1xmd f030996f4e3ca9d276962dfeb1Sf279d             Outgoing                            WeChat:                3/17/2019         3/17/2019 2:05:50               73.aud.silk    silk     73.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                      PM(UTC+O)
                      • (owner) , wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



65                        f030996f4e3ca9d276962dfeb1Sf279d         Incoming     illt!IIIDT-~ll!!.I!.   WeChat:                3/17/2019         3/17/2019 2:06:06
                          Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112                      PM(UTC+O)
                          • (owner), wxid_4U,
                          wxid_4zadks4smfc512 uncfa



66                        f030996f 4e3ca9d276962dfeb19f279d        Incoming                            WeChat:                3/17/2019         3/17/2019 2:16:26               76.aud.silk    silk     76.aud.silk_Converted.wav
                          Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112                      PM(UTC+O)
                          • (owner) , wxid_4U,
                          wxid_4zadks4smfc512 uncfa



67                        f030996f4e3ca9d276962dfeb19f279d         Incoming                            WeChat:                3/17/2019         3/17/2019 2:19:03               77.aud.silk    silk     77.aud.silk_ Converted.wav
                          Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112                      PM(UTC+O)
                          • (owner), wxid_4U,
                          wxid_4zadks4smfc512 uncfa



66                        f030996f4e3ca9d276962dfeb1Sf279d         Incoming                            WeChat:                3/17/2019         3/17/2019 2:19:55               76.aud.silk    silk     76.aud.silk_Converted.wav
                          Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112                      PM(UTC+O)
                          • (owner) , wxid_ 4U,
                          wxid_4zadks4smfc512 uncfa




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69                     1v~;:,~0t '+t::X d~ L ,   o~o.::::oreo1~r2 1:::,o   Incoming                              WeChat:                 3/17/2019   3/17/2019 2 20:35   79.aud.silk   silk      79.aud.silk_Converted.wav
                       Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_ 4U,
                       wxid_4zadks4srnfc512 uncfa



70   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                     Outgoing   IUfl!IJ                    WeChat :                3/18/2019   3/18/2019 5:43:51
     112¥             Participants: wxid_qxgsc6h1xmd112                                                          wxid_qxgsc6h1xmd112                 AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4srnfc512 uncfa



71   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d                   Outgoing   li-j:$t$t 81\Fc~j;~.t"t~   WeChat:                 3/18/2019   3/18/2019 5:44:17
     11 2 ¥             Participants: wxid_qxgsc6h1xmd112                                                        wxid_qxgsc6h1xmd112                 AM(UTC+O)
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4srnfc512 uncfa



72   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                     Outgoing                              WeChat:                 3/18/2019   3/18/2019 5:44:46   82.aud.silk   silk      82.aud.silk_Con11erted.wa11
     112¥             Participants: wxid_qxgsc6h1xmd112                                                          wxid_qxgsc6h1xmd112                 AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4srnfc512 uncfa



73   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                     Outgoing                              WeChat:                 3/18/2019   3/18/2019 5:45:24   83.aud.silk   silk      83.aud.silk_Con11erted.wa11
     112¥             Participants: wxid_qxgsc6h1xmd112                                                          wxid_qxgsc6h1xmd112                 AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4srnfc512 uncfa



74   wxid_qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d                    Outgoing                              WeChat:                 3/18/2019   3/18/2019 5:45:39   84.aud.silk   silk      84. aud.silk_Con11erted.wa11
     11 2 ¥            Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd112                 AM(UTC+O)
                       ¥ (owner) , w xid_4U,
                       wxid_ 4zadks4srnfc512 uncfa



75   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                     Outgoing                              WeChat:                 3/18/2019   3/18/2019 5:45:43   85.aud.silk   silk      85.aud.silk_Con11erted.wa11
     112¥             Participants: wxid_qxgsc6h1xmd112                                                          wxid_qxgsc6h1xmd112                 AM(UTC+O)
                      ¥ (owner), wxid_4U,
                      wxid_ 4zadks4srnfc512 uncfa



76   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                     Outgoing                              WeChat :                3/18/2019   3/18/2019 5:46:14   86.aud.silk   silk      86.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                          wxid_qxgsc6h1xmd112                 AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4srnfc512 uncfa



77                     f030996f 4e3ca9d276982dfeb19f279d                   Incoming   ilJlll@T-*llU.             WeChat:                 3/18/2019   3/18/2019 5:46:26
                       Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1 xmd11 2               AM(UTC+O)
                       ¥ (owner), wxid_ 4U,
                       wxid_4zadks4srnfc512 uncfa



78                     f030996f4e3ca9d276982dfeb19f279d                    Incoming   ilJlll@T-*llU!.            WeChat:                 3/18/2019   3/18/2019 5:46:39
                       Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd11 2                AM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_ 4zadks4srnfc512 uncfa




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79   w-xid_(iAg&eo,1 ~:...rr-,..; ~~:;c;;or61'::~Gci2i'O;o2dfeb19f27fi<:i   uu1go1ng                        WeChat:                  3/18/2019   3/18/2019 5:47:13    91 .aud.silk   silk           91 .aud. silk_Converted. wav
     112¥                    Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112                  AM(UTC+O)
                             ¥ (owner) , wxid_4U,
                             wxid_4zadks4smfc512 uncfa



80   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                        WeChat:                  3/18/2019   3/18/2019 5 :47:40   92.aud.silk    silk           92.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid _ qxgsc6h1 xmd112               AM(UTC+O)
                      ¥ (owner) , wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa



81   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                        WeChat:                  3/18/2019   3/18/2019 5:49:01    93.aud.silk    silk           93.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                  AM(UTC+O)
                      ¥ (owner) , wxid_4U,
                      wxid_4zadks4smfc512 uncfa



82   wxid_ qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb191279d                   Outgoing                        WeChat:                  3/18/2019   3/18/2019 5:49:22    94.aud.silk    silk           94.aud.silk_Converted.wav
     112¥               Participants: wxid_qxgsc6h1xmd112                                                   wxid_qxgsc6h1xmd112                  AM(UTC+O)
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



83   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                        WeChat:                  3/18/2019   3/18/2019 5:52:25    95.aud.silk    silk           95.aud.silk_Converted.wav
     112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                  AM(UTC+O)
                      ¥ (owner), wxid_4U,
                      wxid_4zadks4smfc512 uncfa



84                           f030996f4e3ca9d276982dfeb191279d               Incoming                        WeChat:                  3/18/2019   3/18/2019 5:53:23    96.aud.silk    silk           96.aud.silk_Converted.wav
                             Participants: wxid_qxgsc6h1xmd112                                              wxid_ qxgsc6h1 xmd112                AM(UTC+O)
                             ¥ (owner) , wxid_4U,
                             wxid_4zadks4smfc512 uncfa



85                           f030996f4e3ca9d276982dfeb191279d               Incoming                        WeChat:                  3/18/2019   3/18/2019 5:54:18    97.aud.silk    silk           97.aud.silk_ Converted.wav
                             Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112                  AM(UTC+O)
                             ¥ (owner) , wxid_4U,
                             wxid_4zadks4smfc512 uncfa



86                           103099614e3ca9d276982dfeb191279d               Incoming                        WeChat:                  3/18/2019   3/18/2019 5:55:10    98.aud.silk    silk           98.aud.silk_ Converted.wav
                             Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1xmd112                  AM(UTC+O)
                             ¥ (owner) , wxid_4U,
                             wxid_4zadks4smfc512 uncfa



87                           f030996f4e3ca9d276982dfeb19f279d               Incoming                        WeChat:                  3/18/2019   3/18/2019 5:55:21    99.aud.silk    silk           99.aud.silk_Converted.wav
                             Participants: wxid_qxgsc6h1xmd112                                              wxid_qxgsc6h1 xmd112                 AM(UTC+O)
                             ¥ (owner) , wxid_4U,
                             wxid_4zadks4smfc512 uncfa



88   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb191279d                      Outgoing                        WeChat:                  3/18/2019   3/18/2019 6:09:53    100.aud.silk   silk           100.aud.silk_Converted.wa
     112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                  AM(UTC+O)                                          V
                      ¥ (owner), wxid_ 4U,
                      wxid_4zadks4smfc512 uncfa




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                                                          Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 10 of
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83   vrx:d_qxgsc6h~A I id IG3GGGG.~M;ci270;02cifebi9i27iici   Outgoing                         WeChat:                 3/18/2019   3/18/2019 6:10:48    101 .aud.silk   silk               101 .aud.silk_Converted.wa
     112¥                 Participants: wxid_qxgsc6h1xmd112                                    wxid_qxgsc6h1xmd112                 AM(UTC+O)                                               V
                        ¥ (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



90                      f030996f4e3ca9d276982dfeb191279d      Incoming                         WeChat:                 3/18/2019   3/18/2019 6:33:04    102.aud.silk    silk               102.aud.silk_Converted.wa
                        Participants: wxid_qxgsc6h1xmd112                                      wxid_qxgsc6h1xmd112                 AM(UTC+O)                                              V
                        ¥ (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



91                      f030996f4e3ca9d276982dfeb191279d      Incoming                         WeChat:                 3/18/2019   3/18/2019 6:34:45    103.aud.silk    silk               103.aud.silk_Converted.wa
                        Participants: wxid_qxgsc6h1xmd112                                      wxid_ qxgsc6h1 xmd112               AM(UTC+O)                                              V
                        ¥ (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa



92                      f030996f 4e3ca9d276982dfeb191279d     Incoming                         WeChat:                 3/18/2019   3/18/2019 6:36:00    104.pic_thum
                        Participants: wxid_qxgsc6h1xmd112                                      wxid_qxgsc6h1xmd112                 AM(UTC+O)
                        ¥ (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa



93                      f030996f4e3ca9d276982dfeb19f279d      Incoming                         WeChat:                 3/18/2019   3/18/2019 6:36:08    105.pic_thum
                        Participants: wxid_qxgsc6h1xmd112                                      wxid_qxgsc6h1xmd112                 AM(UTC+O)
                        ¥ (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



94                      f030996f4e3ca9d276982dfeb19f279d      Incoming                         WeChat:                 3/18/2019   3/18/2019 6:36:36    106.aud.silk    silk              106.aud.silk_Converted.wa
                        Participants: wxid_qxgsc6h1xmd112                                      wxid_qxgsc6h1 xmd112                AM(UTC+O)                                              V
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



95                      f030996f4e3ca9d276982dfeb191279d      Incoming                         WeChat:                 3/18/2019   3/18/2019 6 :36:53   107.aud.silk    silk              107.aud.silk_Converted.wa
                        Participants: wxid_qxgsc6h1xmd112                                      wxid_qxgsc6h1xmd112                 AM(UTC+O)                                              V
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



96   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing                         WeChat:                 3/18/2019   3/18/2019 6 :38:59   108.aud.silk    silk              108.aud.silk_Converted.wa
     112¥             Participants: wxid_qxgsc6h1xmd112                                        wxid_ qxgsc6h1 xmd112               AM(UTC+O)                                              V
                      ¥ (owner), wxid_4U,
                      wxid_4zadks4smfc512 uncfa



97   wxid_ qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb191279d     Outgoing                         WeChat:                 3/18/2019   3/18/2019 6:41 :46   109.aud.silk    silk              109.aud.silk_Converted.wa
     112¥               Participants: wxid_qxgsc6h1xmd112                                      wxid_qxgsc6h1xmd112                 AM(UTC+O)                                              V
                        ¥ (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



98   wxid_ qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb191279d     Outgoing                         WeChat:                 3/18/2019   3/18/2019 6:41 :55   110.aud.silk    silk              110.aud.silk_Converted.wa
     112¥               Participants: wxid_qxgsc6h1xmd112                                      wxid_ qxgsc6h1xmd112                AM(UTC+O)                                              V
                        ¥ (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa




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                                                                            Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 11 of
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99    ··t'xid_c;x~~:S~~ x:r.d :::::;:::::::;3ca~~a9d27'6S82u':d.Jl ;f2iSd    wtgoing                                                            weCnat:                  3/18/2019   3/18/2019 6:42:03     111 .aud.silk   silk           111 .aud.silk_Converted.wa
      112¥                    Participants: wxid_qxgsc6h1xmd112                                                                                 wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                              ¥ (owner) , wxid_4U,
                              wxid_4zadks4smfc512 uncfa



100   wxid_qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d                     Outgoing                                                           WeChat:                  3/18/2019   3/18/2019 6:42 :09    112.aud.silk    silk           112.aud.silk_Converted.wa
      112¥              Participants: wxid_qxgsc6h1xmd112                                                                                       wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                        • (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



101   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                                                           WeChat:                  3/18/2019   3/18/2019 6:42 23     113.aud.silk    silk           113.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                                                        wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



102   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                                                           WeChat:                  3/18/2019   3/18/2019 6:42:30     114.aud.silk    silk           114.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                                                        wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



103   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d                    Outgoing                                                           WeChat:                  3/18/2019   3/18/2019 7 :03:20    115.aud.silk    silk           115.aud.silk_Converted.wa
      112¥               Participants: wxid_qxgsc6h1xmd112                                                                                      wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                         • (owner) , wxid_4U,
                         wxid_4zadks4smfc512 uncfa



104   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d                    Outgoing                                                           WeChat:                  3/18/2019   3/18/2019 7 03:24     116.aud.silk    silk           116.aud.silk_Converted.wa
      112¥               Participants: wxid_qxgsc6h1xmd112                                                                                      wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa



105   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d                      Outgoing                                                           WeChat:                  3/18/2019   3/18/2019 7:03:36     117.aud.silk    silk           117.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                                                        wxid_qxgsc6h1xmd112                  AM(UTC+O)                                            V
                       ¥ (owner) , wxid_ 4U,
                       wxid_4zadks4smfc512 uncfa



106                          f030996f4e3ca9d276982dfeb19f279d                Incoming   <msg><emoji fromusername= 'wxid_4zadks4smfc512"            WeChat:               3/18/2019   3/18/2019 7:40:24
                             Participants: wxid_qxgsc6h1xmd112                          tousername='wxid_qxgsc6h1xmd112" type=''2"                 wxid_qxgsc6h1xmd112               AM(UTC+O)
                             ¥ (owner) , wxid_ 4U,                                      idbuffer="media :O_O"
                             wxid_4zadks4smfc512 uncfa                                  md5="867 d06b8d37dc21 aDdb3a045a0ed7da6" len="88513"
                                                                                        productid="com.tencent.xin.emoticon.person.stiker_ 1481366
                                                                                        007847bf887 d1131340"
107                          f030996f4e3ca9d276982dfeb19f279d                Incoming                                                           WeChat:                  3/18/2019   3/18/201910 :53 :34   119.pic
                             Participants : wxid_qxgsc6h1xmd112                                                                                 wxid_qxgsc6h1xmd112                  AM(UTC+O)
                             ¥ (owner) , wxid_ 4U,
                             wxid_4zadks4smfc512 uncfa



108                          f030996f4e3ca9d276982dfeb19f279d                Incoming                                                           WeChat:                  3/18/2019   3/18/201911 :12:38    120.pic
                             Participants: wxid_qxgsc6h1xmd112                                                                                  wxid_qxgsc6h1xmd112                  AM(UTC+O)
                             ¥ (owner) , wxid_ 4U,
                             wxid_4zadks4smfc512 uncfa




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                                                           Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 12 of
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109                    ::283:J6f4.a~agd27G9S2u'fd..,1Gl27Gci   itx..oming                                                         vveCnat:                 3/23/2019   3/23/2019 1 :34 43    124.pic
                       Participants: wxid_qxgsc6h1xmd112                                                                          wxid_qxgsc6h1 xmd112                 PM(UTC+O)
                        • (owner) , wxid_ 4U,
                        wxid_4zadks4smfc512 uncfa



110                     f030996f4e3ca9d276982dfeb191279d       Incoming     i/Jlll@JT-fdl!I.I,                                    WeChat:                  3/24/2019   3/24/201910 :14:49
                        Participants: wxid_qxgsc6h1xmd112                                                                         wxid_qxgsc6h1xmd112                  AM(UTC+O)
                        • (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



111                     f030996f4e3ca9d276982dfeb19f279d       Incoming     <sysmsg type="editrevokecontent''>                       WeChat:               3/24/2019   3/24/201910 :15:00
                        Participants: wxid_qxgsc6h1xmd112                   <editrevokecontent>                                      wxid_qxgsc6h1xmd112               AM(UTC+O)
                        • (owner), wxid_4U,                                 <text><l[CDATA[i/llll@J 7-~il!i.l,)]></text>
                        wxid_4zadks4smfc512 uncfa                            <link>                 <scene>editrevokecontent</scene>
                                                                                           <text><![CDATA(.ffiil•JJ></text>
                                                                                    <revokecontent><![CDATA[]!ffi 7-l'
112   wxid_qxgsc6h1 xmd f030996f4e3ca9d276982dfeb191279d       Outgoing                                                           WeChat:                  3/24/2019   3/24/201910:16:41     129.pic
      112•              Participants: wxid_qxgsc6h1xmd112                                                                         wxid_qxgsc6h1 xmd112                 AM(UTC+O)
                        • (owner) , wxid_4U,
                        wxid_4zadks4smfc512 uncfa



113   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing     ~ffiT-l'                                              WeChat:                  3/24/2019   3/24/201910:16:48
      112•             Participants: wxid_qxgsc6h1xmd112                                                                          wxid_qxgsc6h1xmd112                  AM(UTC+O)
                       • (owner) , wxid_ 4U,
                       wxid_4zadks4smfc512 uncfa


114                    f030996f 4e3ca9d276982dfeb191279d       Incoming                                                           WeChat:                  3/26/2019   3/26/2019 11 :35 52   134.aud.silk   silk   134.aud.silk_Converted.wa
                       Participants: wxid_ qxgsc6h1 xmd112                                                                        wxid_qxgsc6h1 xmd112                 AM(UTC+O)                                   V
                       • (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



115                    f030996f4e3ca9d276982dfeb191279d        Incoming                                                           WeChat:                  3/26/2019   3/26/201911 :3628     135.aud.silk   silk   135.aud.silk_Converted.wa
                       Participants: wxid_qxgsc6h1xmd112                                                                          wxid_qxgsc6h1xmd112                  AM(UTC+O)                                   V
                       • (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



116                    f030996f4e3ca9d276982dfeb191279d        Incoming                                                           WeChat:                  3/26/2019   3/26/2019 3 :08:07    136.pic
                       Participants: wxid_qxgsc6h1xmd112                                                                          wxid_qxgsc6h1 xmd112                 PM(UTC+O)
                       • (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



117   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing     llatt.TIM   il't-~JH.                                 WeChat:                  3/27/2019   3/27/2019 4:22:57
      112•             Participants: wxid_qxgsc6h1xmd112                                                                          wxid_qxgsc6h1xmd112                  AM(UTC+O)
                       • (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



118   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d        Outgoing     llli:ilJJttUle                                        WeChat:                  3/27/2019   3/27/2019 4:23:32
      112•             Participants: wxid_qxgsc6h1xmd112                                                                          wxid_qxgsc6h1xmd112                  AM(UTC+O)
                       • (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa
                                                                Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 13 of
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119   vJX:~_q;q;;::eh~ X:7.~ :828X6f4a3caGd276S62UfcLJ1;f279d
      112¥               Participants: wxid_qxgsc6h1xmd112
                                                                 Outgoing
                                                                            -1-ff   •*                             WeChat:
                                                                                                                   wxid_qxgsc6h1xmd112
                                                                                                                                          3/27/2019   3/27/2019 4:25:41
                                                                                                                                                      AM(UTC+O)
                         ¥ (owner) , wxid_4U,
                         wxid_4zadks4srnfc512 uncfa



120   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d          Outgoing   ~Jili•m ~/iUf,fi.i~l'.(Jili~JIU;tlff   WeChat:                3/27/2019   3/27/2019 4:32:28
      112¥             Participants: wxid_qxgsc6h1xmd112                                                           wxid_qxgsc6h1xmd112                AM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



121   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d          Outgoing   lf;J~\j!.-~                            WeChat:                3/27/2019   3/27/2019 4:32:32
      112¥             Participants: wxid_qxgsc6h1xmd112                                                           wxid_qxgsc6h1xmd112                AM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



122                      f030996f4e3ca9d276982dfeb19f279d        Incoming                                          WeChat:                3/27/2019   3/27/2019 6:42:58     142.aud.silk    silk     142.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd112                AM(UTC+O)                                      V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4srnfc512 uncfa



123   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d          Outgoing   , 5:l!lillt JUl!fl/lM#!Mt7             WeChat:                3/27/2019   3/27/2019 9:47:20
      112¥             Participants: wxid_qxgsc6h1xmd112                                                           wxid_qxgsc6h1xmd112                AM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa


124                      f030996f4e3ca9d276982dfeb19f279d        Incoming                                          WeChat:                3/27/2019   3/27/2019 10:48 :38   144.aud.silk    silk     144.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd112                AM(UTC+O)                                      V
                         ¥ (owner) , wxid_4U,
                         wxid_ 4zadks4srnfc512 uncfa



125                      f030996f 4e3ca9d276982dfeb19f279d       Incoming                                          WeChat:                3/27/2019   3/27/201910 :49 :27   145.aud.silk    silk     145.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd112                AM(UTC+O)                                      V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4srnfc512 uncfa



126                      f030996f4e3ca9d276982dfeb19f279d        Incoming                                          WeChat :               3/27/2019   3/27/2019 10:50 :20   146.aud.silk    silk     146.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd11 2               AM(UTC+O)                                      V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4srnfc512 uncfa



127                      f030996f4e3ca9d276982dfeb19f279d        Incoming                                          WeChat:                3/27/2019   3/27/2019 10:50:30    147 .aud.silk   silk     147.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                                         wxid_qxgsc6h1xmd112                AM(UTC+O)                                      V
                         ¥ (owner) , wxid_4U,
                         wxid_4zadks4srnfc512 uncfa



128   wxid_qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb19f279d        Outgoing                                          WeChat :               3/27/2019   3/27/2019 5:25:28     148.aud.silk    silk     148.aud.silk_Converted.wa
      112¥              Participants: wxid_ qxgsc6h1 xmd112                                                        wxid_qxgsc6h1xmd112                PM(UTC+O)                                      V
                        ¥ (owner) , wxid_4U,
                        wxid_ 4zadks4srnfc512 uncfa




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                                                            Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 14 of
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 29   wxid_qxgsc6n1xmo ru~~or4e.x:al:lel'.U blitlLOTeo19!219a   Outgoing                         WeChat:               3/27/2019   3/27/2019 5:25:35      149.aud.silk    silk             149.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                         wxid_qxgsc6h1xmd112               PM(UTC+O)                                               V
                       ¥ (owner), wxid_ 4U,
                       wxid_4zadks4smfc512 uncfa



130                      f030996f 4e3ca9d276982dfeb19f279d      Incoming                         WeChat:               3/27/2019   3/27/2019 6:30:47      150.aud.silk    silk             150.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                       wxid_qxgsc6h1xmd112               PM(UTC+O)                                               V
                         ¥ (owner) , wxid_4U,
                         wxid_4zadks4smfc512 uncfa



131                      f030996f 4e3ca9d276982dfeb19f279d      Incoming                         WeChat:               3/27/2019   3/27/2019 6:31 :15     151 .aud.silk   silk             151 .aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                       wxid_qxgsc6h1xmd112               PM(UTC+O)                                               V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa



132   wxid_ qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb19f279d      Outgoing                         WeChat:               3/28/2019   3/28/2019 5:56:30      152.aud.silk    silk             152.aud.silk_Converted.wa
      112¥               Participants: wxid_qxgsc6h1xmd112                                       wxid_qxgsc6h1xmd112               AM(UTC+O)                                               V
                         ¥ (owner), wxid_4U,
                         wxid_4zadks4smfc512 uncfa



133   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d         Outgoing                         WeChat:               3/28/2019   3/28/2019 5:56:34      153.aud.silk    silk             153.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                         wxid_qxgsc6h1xmd112               AM(UTC+O)                                               V
                       ¥ (owner). wxid_4U,
                       wxid_4zadks4smfc512 uncfa


134                      f030996f4e3ca9d276982dfeb19f279d       Incoming                         WeChat:               3/28/2019   3/28/2019 8:17:53      154.aud.silk    silk             154.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                       wxid_qxgsc6h1xmd112               AM(UTC+O)                                               V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa



135   wxid_qxgsc6h1 xmd f030996f 4e3ca9d276982dfeb19f279d       Outgoing   1tPI!!                WeChat:               3/28/2019   3/28/2019 11 :56 :47
      112¥              Participants: wxid_qxgsc6h1xmd112                                        wxid_qxgsc6h1xmd112               PM(UTC+O)
                        ¥ (owner), wxid_4U,
                        wxid_4zadks4smfc512 uncfa



136   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d         Outgoing                         WeChat:               3/28/2019   3/28/2019 11 :57 :20   156.aud.silk    silk             156.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                         wxid_qxgsc6h1xmd112               PM(UTC+O)                                               V
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



137   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d         Outgoing                         WeChat:               3/28/2019   3/28/2019 11 :57 :30   157.aud.silk    silk             157.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                         wxid_qxgsc6h1xmd112               PM(UTC+O)                                               V
                       ¥ (owner). wxid_ 4U,
                       wxid_4zadks4smfc512 uncfa



138                      f030996f4e3ca9d276982dfeb19f279d       Incoming                         WeChat:               3/29/2019   3/29/2019 6:29:31      158.aud.silk    silk             158.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                       wxid_qxgsc6h1xmd112               AM(UTC+O)                                               V
                         ¥ (owner). wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa




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                                                         Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 15 of
                                                                                               21

139                    :c3::;g9oi4a3ca9d276962Ufsb1srz;-;u   i11vvrr,i119                                    ·vveCnai.              3/29120 i,,    J/L~l:.1U1 ~ 6:;;l!:40   1 b~.aua.SIIK   SIIK             159.aud.stll<_Converted.wa
                       Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                   AM(UTC+O)                                                 V
                       4 (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



140                    f030996f4e3ca9d2769S2dfeb19f279d      Incoming                                        WeChat:                3/29/2019      3129/2019 6:31 :01       160.pic_thum
                       Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                   AM(UTC+O)
                       4 (owner) , wxid_4U ,
                       wxid_4zadks4srnfc512 uncfa



141                    f030996f4e3ca9d2769S2dfeb19f279d      Incoming                                        WeChat:                3/29/2019      3/29/2019 6:32 30        161 .pic_thum
                       Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1 xmd112                  AM(UTC+O)
                       4 (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



142                    f030996f 4e3ca9d2769S2dfeb19f279d     Incoming                                        WeChat:                3/29/2019      3129/2019 6:32 :56       162.pic_thum
                       Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1 xmd112                  AM(UTC+O)
                       4 (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



143                    f030996f4e3ca9d2769S2dfeb19f279d      Incoming                                        WeChat:                3/29/2019      3129/2019 6:33:19        163.aud.silk    silk             163.aud.silk_Converted.wa
                      · Participants: wxid_qxgsc6h1xmd112                                                    wxid_qxgsc6h1xmd112                   AM(UTC+O)                                                 V
                       4 (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



144   wxid_qxgsc6h1xmd f030996f4e3ca9d2769S2dfeb19f279d      Outgoing                                        WeChat:                3/29/2019      3/29/2019 2:44:13        164.aud.silk    silk             164.aud.silk_ Converted.wa
      1124             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                   PM(UTC+O)                                                 V
                       4 (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



145                    f030996f4e3ca9d2769S2dfeb19f279d
                       Participants: wxid_qxgsc6h1xmd112
                       ¥ (owner) , wxid_4U,
                                                             Incoming       -ji:~   !   ~>I:~ . i!8::f~~ .   WeChat:
                                                                                                             wxid_qxgsc6h1xmd112
                                                                                                                                    3/29/2019       3129/2019 5:32:52
                                                                                                                                                  . PM(UTC+O)

                       wxid_4zadks4srnfc512 uncfa



146   wxid_qxgsc6h1xmd f030996f4e3ca9d2769S2dfeb19f279d      Outgoing                                        WeChat:                3/29/2019      3129/2019 8:44:08        166.aud.silk    silk             166.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                   PM(UTC+O)                                                 V
                       ¥ (owner) , wxid_ 4U,
                       wxid_4zadks4srnfc512 uncfa



147   wxid_qxgsc6h1xmd f030996f4e3ca9d2769S2dfeb19f279d      Outgoing       ls *!B1'ffiffi%1.. f.t::t-fi~    WeChat:                3/29/2019      3/29/2019 8:44:25
      112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                   PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4srnfc512 uncfa



148   wxid_qxgsc6h1xmd f030996f4e3ca9d2769S2dfeb19f279d      Outgoing                                        WeChat:                3/29/2019      3129/2019 8:48:23        168.aud.silk    silk             168.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                     wxid_qxgsc6h1xmd112                   PM(UTC+O)                                                 V
                       ¥ (owner) , wxid_ 4U,
                       wxid_4zadks4srnfc512 uncfa




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                                                                                                  21
 149    wxid_4£aat<s4smrc TOJU99614e3ca9d276982dfeb19f279d    Incoming                                       3/29/2019   3/29/2019 9:10:46    af79516c-c33b-49ff-bbad-   https://mmbiz.qlogo.cn/mmbizj
        512 uncfa         Participants: wxid_qxgsc6h1xmd112                                                              PM                   d0f31821d7da               pg/LWpWjoV4liciabPOB6'MHx
                          ¥ (owner) , wxid_4U,                                                                                                                           AnrKuPoPKohUllrWwXJWQZqY
                          wxid_4zadks4smfc512 uncfa                                                                                                                      mHsV85woksDkpvEpeJDVV.VK
                                                                                                                                                                         mSXZrP,'iaia m7movq41g/300?.Yx
                                                                                                                                                                         _fmt=jpeg
 150    wxid_ 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d    Incoming                                       3/29/2019   3/29/2019 9:11 :17   bd24bb64-9e8c-49c4-bf4c- https://mmbiz.qlogo.cn/mmbizj
        512 uncfa         Participants: wxid_qxgsc6h1xmd112                                                              PM                   dac46d040bf2             pgi\YOQ4aVtpQalONpxtAxoaz5
                          ¥ (owner) , wxid_4U,                                                                                                                         TQQjOlic3qxb8uoM1 wSrer6pRo
                          wxid_4zadks4smfc512 uncfa                                                                                                                    FCRYg81oj5ZNuBNBoMsalhQic
                                                                                                                                                                       tFjpjNZ37hOTNUA/300?Wx_fmt=
                                                                                                                                                                       jpeg
 151    wxid 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d     Incoming                                       3/29/2019   3/29/2019 9:11 :48   89de66f4-4c7e-4ca8-b2c6- https://mmbiz.qlogo.cn/mmbizj
        512 uncfa        Participants: wxid_qxgsc6h1xmd112                                                               PM                   2544e160417b             pg/XPl9e2dw62Ud11XNNG49eB
                         ¥ (owner), wxid_4U,                                                                                                                           UcNrAvyABssnqJqfnXTtgX1C1S
                         wxid_4zadks4smfc512 uncfa                                                                                                                     GHl4iaMrVzVhwSCkFwuAUFR
                                                                                                                                                                       N9JlibiceZ4rm2fAlw/300?wx_fm
                                                                                                                                                                       t=jpeg
 152    wxid_ 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d    Incoming                                       3/29/2019   3/29/2019 9:14:45    bf03b0ac-551 a-4199-bd79- https://mmbiz.qlogo.cn/mmbizj
        512 uncfa         Participants: wxid_qxgsc6h1xmd112                                                              PM                   1c1c3aa9fc90              pg/CY71qvpF0SWdpnUx7tx1Mo
                          ¥ (owner) , wxid_4U,                                                                                                                          KcuP3vl4wEW1via4alPZl3JddPq
                          wxid_4zadks4smfc512 uncfa                                                                                                                     OicCiajvxPPib3RXnzJUN8aa97Y
                                                                                                                                                                        NyKqGtXdCyykFA/300?wx_fmt=j
                                                                                                                                                                         peg
 153   wxid 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d      Incoming                                       3/29/2019   3/29/2019 9:15:03    17ca9fee-33e9-43d3-a9d7 - https://mmbiz. qlogo.cn/mmbizj
       512 uncfa        Participants: wxid_qxgsc6h1xmd112                                                                PM                   296603d4956a              pg/CY71 qvpF0SWdpnUx7tx1Mo
                        ¥ (owner) , wxid_4U,                                                                                                                            KcuP3vl4wEedibvvl32uLGfygRIO
                        wxid_4zadks4smfc512 uncfa                                                                                                                       lqOXPNeFOYSNyj MNSaJltiahEb
                                                                                                                                                                        15ib6wyxW5j Mg/300?Wx_fmt=jpe
                                                                                                                                                                        g
154    wxid_ 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d     Incoming                                       3/29/2019   3/29/2019 9:15:24    10122a9d-7127-43ce-a624- https://mmbiz.qlogo.cn/mmbizj
       512 uncfa         Participants: wxid_qxgsc6h1xmd112                                                               PM                   43a0150ae488             pg/CY71qvpF0SUe0610LC4FYy
                         ¥ (owner) , wxid_4U,                                                                                                                          Q680PROGaOEZGCrCa1 oTlrdz
                         wxid_4zadks4smfc512 uncfa                                                                                                                     aO"ZWJkJROiaSHsPhSE3Jh4W
                                                                                                                                                                       ia7VQXiaQYibOpUlicVluQ/300?
                                                                                                                                                                       wx_fmt=jpeg
155    wxid 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d      Incoming                                       3/29/2019   3/29/2019 9:16:44    f344fbcb-81 e6-4d2d-aa40- https://mmbiz.qlogo.cn/mmbizj
       512 uncfa        Participants: wxid_qxgsc6h1xmd112                                                                PM                   ed5288f80275              pg/ZuOu54GKujvg4MrlWZuGAi
                        ¥ (owner), wxid_4U,                                                                                                                             bjXYE5yVh1 iao6u4XoB1U6LOO.V
                        wxid_4zadks4smfc512 uncfa                                                                                                                       NKseHXnkf4TOQjaYVON6LW1
                                                                                                                                                                        pkRwRFm6JPBfxwyLA/300?Wx_
                                                                                                                                                                        fmt=jpeg
156    wxid_4zadks4smfc f030996f4e3ca9d276982dfeb19f279d      Incoming                                       3/29/2019   3/29/2019 918:11     731c1405-e35c-4a41 -9929- https://mmbiz.qlogo.cn/mmbizj
       512 uncfa        Participants: wxid_qxgsc6h1xmd112                                                                PM                   3a8e4b752bd8              pg/xrFYciaHLOBALPlsez1 HHvXt
                        ¥ (owner) , wxid_4U,                                                                                                                            E4iclibjYj1XLEz0n90eBkKyaA1i
                        wxid_4zadks4smfc512 uncfa                                                                                                                       aMQLsSAJibmjOq7jlkhOgs6op
                                                                                                                                                                        QsfmRZhMHSSYTw/300?Wx_f
                                                                                                                                                                        mt=jpeg
157    wxid_ 4zadks4smfc f030996f4e3ca9d276982dfeb19f279d     Incoming                                       3/29/2019   3/29/2019 9:18:50    510325ab-dad1 -4b4d-b1 cB- https://mmbiz.qlogo.cn/mmbizj
       512 uncfa         Participants: wxid_qxgsc6h1xmd112                                                               PM                   612854cd8345               pg/k5d41fEvkEyX6JH9CCvnDmn
                         ¥ (owner) , wxid_4U,                                                                                                                            OdbUfWT037bl3JP6SVOfE1Vvd
                         wxid_4zadks4smfc512 uncfa                                                                                                                       cVicxTUwpGhY Awd2tiaWA9609
                                                                                                                                                                         d9khV'r!TrymJVK0/300?Wx_fmt
                                                                                                                                                                         =jpeg
158    wxid_4zadks4smfc f030996f4e3ca9d276982dfeb19f279d      Incoming                                       3/29/2019   3/29/2019 9:19:12    7234253e-5e45-4f36-9965- https://mmbiz.qlogo.cn/mmbizj
       512 uncfa        Participants: wxid_qxgsc6h1xmd112                                                                PM                   ce7591a71f33             pg/eCUa11gTpQUsthbgAozFS
                        ¥ (owner) , wxid_4U,                                                                                                                           09ZT7svMzE2cellvTYPpHWO
                        wxid_4zadks4smfc512 uncfa                                                                                                                      slkQ0yHoNBg2pVq2Aec3YpPc
                                                                                                                                                                       W4EjibRhAoicQy06PnmA/300?
                                                                                                                                                                       wx_fmt=jpeg


                                                                                                                                                                               f2U        f/lA/ tc,
                                                                    Case 9:19-cr-80056-RKA Document 73-20 Entered on FLSD Docket 09/19/2019 Page 17 of
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15S   Wxid_ 4><9..c6n 1xrno iu30996f4exalKJL /O~OLOleD1l,/l'L /9a    Outgoing   fT1' E@IQIOJIOJ         WeChat:                  3/30/2019   3/30/2019 12:49 :29
      112¥                  Participants: wxid_qxgsc6h1xmd112                                           wxid_qxgsc6h1xmd112                  AM(UTC+O)
                            ¥ (owner) , wxid_ 4U,
                            wxid_4zadks4smfc512 uncfa



160                       f030996f4e3ca9d276982dfeb191279d           Incoming                           WeChat:                  3/30/2019   3/30/2019 4:39:11     171 .aud.silk   silk       171 .aud.silk_Converted.wa
                          Participants: wxid_ qxgsc6h1 xmd112                                           wxid_qxgsc6h1 xmd112                 AM(UTC+O)                                        V
                          ¥ (owner) , wxid_ 4U,
                          wxid_4zadks4smfc512 uncfa



161                       f030996f4e3ca9d276982dfeb191279d           Incoming                           WeChat:                  3/30/2019   3/30/2019 4:39:24     172.aud.silk    silk       172.aud.silk_Converted.wa
                          Participants: wxid_qxgsc6h1xmd112                                             wxid_qxgsc6h1xmd112                  AM(UTC+O)                                        V
                          ¥ (owner) , wxid_4U,
                          wxid_4zadks4smfc512 uncfa



162                       f030996f4e3ca9d276982dfeb191279d           Incoming                           WeChat:                  3/30/2019   3/30/2019 4:39:29     173.pic
                          Participants: wxid_qxgsc6h1xmd112                                             wxid_qxgsc6h1xmd112                  AM(UTC+O)
                          ¥ (owner) , wxid_ 4U,
                          wxid_4zadks4smfc512 uncfa



163                       f030996f 4e3ca9d276982dfeb191279d          Incoming                           WeChat:                  3/30/2019   3/30/2019 4:39:49     174.aud.silk    silk       174.aud.silk_Converted.wa
                          Participants: wxid_qxgsc6h1xmd112                                             wxid_qxgsc6h1xmd112                  AM(UTC+O)                                        V
                          ¥ (owner) , wxid_ 4U,
                          wxid_4zadks4smfc512 uncfa



164   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb191279d              Outgoing                           WeChat:                  3/30/2019   3/30/201912 :01 :24   175.aud.silk    silk       175.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                  PM(UTC+O)                                        V
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



165   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb191279d              Outgoing                           WeChat :                 3/30/2019   3/30/2019 12:53 :18   176.aud.silk    silk       176.aud.silk_Converted.wa
      112¥             Participants: wxid_ qxgsc6h1 xmd112                                              wxid_qxgsc6h1xmd112                  PM(UTC+O)                                        V
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



166   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d              Outgoing                           WeChat:                  3/30/2019   3/30/2019 12:53 :38   177.aud.silk    silk       177 .aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                  PM(UTC+O)                                        V
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



167   wxid_ qxgsc6h1 xmd f030996f4e3ca9d276982dfeb19f279d            Outgoing   l.ll. JUttt!lP:!ZfUI    WeChat :                 3/30/2019   3/30/2019 2:05:44
      112¥               Participants: wxid_qxgsc6h1xmd112                                              wxid _ qxgsc6h1 xmd112               PM(UTC+O)
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa



168   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb191279d              Outgoing   IUt lft- i:-111         WeChat:                  3/30/2019   3/30/2019 2 :05:49
      112¥             Participants: wxid_qxgsc6h1xmd112                                                wxid_qxgsc6h1xmd112                  PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa




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                                                                                                      21
10;   wxid_ q><gl>C6n i xrnci i03u;;f;6i4e3ca~.ub~1uareo19T:l /90   Outgoing                                                          WeChat:                3/30/2019   3/30/2019 2:05:56    180.aud.silk    silk          180.aud.silk_Converted.wa
      1124                    Participants: wxid_qxgsc6h1xmd112                                                                       wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                              4 (owner), wxid_4U,
                              wxid_4zadks4smfc512 uncfa



170   wxid_qxgsc6h1xmd f03099614e3ca9d276982dfeb19f279d             Outgoing                                                          WeChat:                3/30/2019   3/30/2019 2:06:10    181 .aud.silk   silk          181 .aud.silk_Converted.wa
      1124             Participants: wxid_ qxgsc6h1 xmd112                                                                            wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                       4 (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa



171   wxid_qxgsc6h1xmd f03099614e3ca9d276982dfeb19f279d             Outgoing                                                          WeChat:                3/30/2019   3/30/2019 2:06:36    182.aud.silk    silk          182.aud.silk_Converted.wa
      1124             Participants: wxid_qxgsc6h1xmd112                                                                              wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



172   wxid_qxgsc6h1xmd f03099614e3ca9d276982dfeb19f279d             Outgoing                                                          WeChat:                3/30/2019   3/30/2019 2:06:43    183.aud.silk    silk          183.aud.silk_Converted.wa
      1124             Participants: wxid_ qxgsc6h1 xmd112                                                                            wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



173                       f030996f4e3ca9d276982dfeb19f279d          Incoming   {/Jtll@J7-•lt!i.1.                                     WeChat:                3/30/2019   3/30/2019 3:24:30
                          Participants: wxid_qxgsc6h1xmd112                                                                           wxid_qxgsc6h1xmd112                PM(UTC+O)
                          4 (owner) , wxid_4U,
                          wxid_ 4zadks4smfc512 uncfa



174   wxid_qxgsc6h1xmd f03099614e3ca9d276982dfeb19f279d             Outgoing                                                          WeChat:                3/30/2019   3/30/2019 3:24:34    185.aud.silk    silk          185.aud.silk_Converted.wa
      1124             Participants : wxid_qxgsc6h1xmd112                                                                             wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                       4 (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



175                       f030996f4e3ca9d276982dfeb19f279d          Incoming                                                          WeChat:                3/30/2019   3/30/2019 3:38:23    187.aud.silk    silk          187.aud.silk_Converted.wa
                          Participants: wxid_qxgsc6h1xmd112                                                                           wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                          4 (owner) , wxid_4U,
                          wxid_4zadks4smfc512 uncfa



176                       f030996f4e3ca9d276982dfeb19f279d          Incoming   <msg><emoji fromusername=''wxid_4zadks4smfc512"        WeChat:                3/30/2019   3/30/2019 3:40:34
                          Participants: wxid_qxgsc6h1xmd112                    tousername=''wxid_qxgsc6h1xmd112" type="1 "            wxid_ qxgsc6h1xmd112               PM(UTC+O)
                          4 (owner), wxid_4U,                                  idbuffer="media:O_O"
                          wxid_4zadks4smfc512 uncfa                            md5="d21 e8t65a3503S0572a03ed3babfd4b1 " Jen="23380"
                                                                               product id='"'
                                                                               androidmd5="d21 e8t65a3503S0572a03ed3babfd4b1"
177                       f030996f4e3ca9d276982dfeb19f279d          Incoming   •t1•/xl !llt lt!li'2~~ ti;~?                           WeChat :               3/30/2019   3/30/2019 3:41 :29
                          Participants: wxid_qxgsc6h1xmd112                                                                           wxid_qxgsc6h1xmd112                PM(UTC+O)
                          4 (owner) , wxid_4U,
                          wxid_4zadks4smfc512 uncfa



178   wxid_qxgsc6h1xmd f03099614e3ca9d276982dfeb19f279d             Outgoing                                                          WeChat:                3/30/2019   3/30/2019 3:43:41    190.aud.silk    silk          190.aud.silk_Converted.wa
      1124             Participants: wxid_qxgsc6h1xmd112                                                                              wxid_qxgsc6h1xmd112                PM(UTC+O)                                          V
                       4 (owner) , wxid_ 4U,
                       wxid_4zadks4smfc512 uncfa




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1,9   wxid_qxgsc6n1xmo 1u-,u~bl4e,j(;a~21698:lare 01912 /9<:I    Outgoing   yes                     WeChat:               3/30/2019   3/30/2019 3:43 :47
      112¥             Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112               PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



180                      f030996f4e3ca9d276962dfeb19f279d        Incoming                           WeChat:               3/30/2019   3/30/2019 3:49:01    192.aud.silk   silk         192.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                          wxid_qxgsc6h1xmd112               PM(UTC+O)                                        V
                         ¥ (owner), wxid_4U,
                         wxid_4zadks4smfc512 uncfa



161                      f030996f4e3ca9d276962dfeb19f279d        Incoming                           WeChat:               3/30/2019   3/30/2019 3:49:44    193.aud.silk   silk         193.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                          wxid_qxgsc6h1xmd112               PM(UTC+O)                                        V
                         ¥ (owner) , wxid_4U,
                         wxid_4zadks4smfc512 uncfa



162   wxid_ qxgsc6h 1xmd f030996f4e3ca9d276962dfeb19f279d        Outgoing   9i:~zflfil              WeChat:               3/30/2019   3/30/2019 3:50:23
      112¥               Participants: wxid_qxgsc6h1xmd112                                          wxid_qxgsc6h1xmd112               PM(UTC+O)
                         ¥ (owner) , wxid_4U,
                         wxid_4zadks4smfc512 uncfa



163   wxid_qxgsc6h1xmd f030996f4e3ca9d276962dfeb19f279d          Outgoing                           WeChat:               3/30/2019   3/30/2019 3:50:42    195.aud.silk   silk         195.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112               PM(UTC+O)                                        V
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa


164   wxid_qxgsc6h1xmd f030996f4e3ca9d276962dfeb19f279d          Outgoing                           WeChat:               3/30/2019   3/30/2019 3:50:46    196.aud.silk   silk         196.aud.silk_Converted.wa
      112¥             Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112               PM(UTC+O)                                        V




                                                                            ~-
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa



165   wxid_qxgsc6h1xmd f030996f4e3ca9d276962dfeb19f279d          Outgoing                           WeChat:               3/30/2019   3/30/2019 3:51 :17
      112¥             Participants: wxid_qxgsc6h1xmd112                                            wxid_qxgsc6h1xmd112               PM(UTC+O)
                       ¥ (owner), wxid_ 4U,
                       wxid_4zadks4smfc512 uncfa


166                      f030996f4e3ca9d276962dfeb19f279d        Incoming                           WeChat:               3/30/2019   3/30/2019 3:52:41    196.aud.silk   silk         196.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                          wxid_qxgsc6h1xmd112               PM(UTC+O)                                        V
                         ¥ (owner) , wxid_ 4U,
                         wxid_4zadks4smfc512 uncfa



167                      f030996f 4e3ca9d276962dfeb19f279d       Incoming                           WeChat:               3/30/2019   3/30/2019 3:52:52    199.aud.silk   silk         199.aud.silk_Converted.wa
                         Participants: wxid_qxgsc6h1xmd112                                          wxid_qxgsc6h1xmd112               PM(UTC+O)                                        V
                         ¥ (owner), wxid_4U,
                         wxid_4zadks4smfc512 uncfa



168   wxid_ qxgsc6h1 xmd f030996f 4e3ca9d276962dfeb19f279d       Outgoing   118'1~1!                WeChat:               3/30/2019   3/30/2019 4:29:59
      112¥               Participants: wxid_qxgsc6h1xmd112                                          wxid_qxgsc6h1xmd112               PM(UTC+O)
                         • (owner) , wxid_4U,
                         wxid_4zadks4smfc512 uncfa




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189   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d    Outgoing   JilJH, ~ftt.J                                       WeChat:                 3/30/2019   3/30/2019 4:30:04
      112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                  wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner), wxid_4U,
                       wxid_4zadks4smfc512 uncfa


190   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d    Outgoing                                                       WeChat:                 3/30/2019   3/30/2019 4:30:09    202.aud.silk   silk   202.aud.silk_Converted.wa
      112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                  wxid_qxgsc6h1xmd112                 PM(UTC+O)                                  V
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa


191   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d    Outgoing   Jtl! 91Jii!im                                       WeChat:                 3/30/2019   3/30/2019 4:30:27
      112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                  wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa


192   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d    Outgoing   t!?. iiJ J;.l                                       WeChat:                 3/30/2019   3/30/2019 4:30:31
      112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                  wxid_qxgsc6h1xmd112                 PM(UTC+O)
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa


193   wxid_qxgsc6h1xmd f030996f4e3ca9d276982dfeb19f279d    Outgoing                                                       WeChat:                 3/30/2019   3/30/2019 4:30:33    205.aud.silk   silk   205.aud.silk_Converted.wa
      112 ¥            Participants: wxid_qxgsc6h1xmd112                                                                  wxid_qxgsc6h1xmd112                 PM(UTC+O)                                  V
                       ¥ (owner) , wxid_4U,
                       wxid_4zadks4smfc512 uncfa


194                    f030996f4e3ca9d276982dfeb19f279d    Incoming   <msg><emoji fromusername='wxid_4zadks4smfc512"        WeChat:               3/30/2019   3/30/2019 5:11 :49
                       Participants: wxid_qxgsc6h1xmd112              tousername=''wxid_qxgsc6h1xmd112" type=''2"           wxid_qxgsc6h1xmd112               PM(UTC+O)
                       ¥ (owner) , wxid_4U,                           idbuffer="media :O_O''
                       wxid_4zadks4smfc512 uncfa                      md5="1 df4b4db91128b27aca75784e695497r' len="229420''
                                                                      product id="'
                                                                      androidmd5="1df4b4db91128b27aca75784e695497r'
  GOVERNMENT
    EXHIBIT
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NO.         (/-....
